Case:23-01428-MCF11 Doc#:26 Filed:06/15/23 Entered:06/15/23 15:58:46                           Desc: Main
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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF PUERTO RICO
  IN RE                                        BANKRUPTCY 23-01428 MCF
  ALEXIS RAMIREZ ROSADO                                 CHAPTER 11
    Debtor

                             MOTION AMENDING SCHEDULE A/B
 TO THE HONORABLE COURT:
       COMES NOW debtor, Alexis Ramirez Rosado, to inform that debtor is amending today
 Schedule A/B, dated June 15, 2023.
          1. The Debtor is amending Schedule “A/B” to reflect the fact that he is the owner of a

          50% participation in the post-divorce community property (“propiedad comunal post-

          whose only assets are the real property at 28-17 Calle 13, Urb. Santa Rosa, Bayamón,

          Puerto Rico and the household items.ganancial.


        WHEREFORE, debtor Alexis Martinez respetcfully request from this Honorable Court to
 take notice of the aforementioned Amended Schedule “A/B”.

                                               NOTICE
                     TO ALL CREDITORS AND PARTIES IN INTEREST

           Within fourteen (14) days after service as evidenced by the certification, and an additional
 three (3) days pursuant to Fed. R. Bank. P. 9006(f) if you were served by mail, any party against
 whom this paper has been served, or any other party to the action who objects to the relief sought
 herein, shall serve and file an objection or other appropriate response to this paper with the Clerk’s
 office of the U.S. Bankruptcy Court for the District of Puerto Rico. If no objection or other response
 is filed within the time allowed herein, the paper will be deemed unopposed and may be granted
 unless: (I) the requested relief is forbidden by law; (ii) the requested relief is against public policy;
 or (iii) in the opinion of the Court, the interest of justice requires otherwise.

                                 CERTIFICATE OF SERVICE

         I hereby certify that on this same date I electronically filed the above document
 with Clerk of the Court using CM/ECF System which sends a notification of such
 filing to:

                                                    1
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                                                                                       2

 MONSITA LECAROZ ARRIBAS,
 ustpregion21.hr.ecf@usdoj.gov

        I further certify that I have served this document by certified mail, with return
 receipt to Banco Popular’s President: Ignacio Alvarez, Esq., Popular Center North
 Building, Second Level, 209 Muñoz Rivera Avenue, San Juan, PR 00918; to Monsita
 Lecaroz Arribas, Assistant US Trustee, Office of The United States Trustee
 Edificio Ochoa 500 Tanca StreetSuite 301, San Juan, PR 00901-1922

       In Bayamón, Puerto Rico, this June 15, 2023.


                                                  /f/ Aníbal Medina Ríos
                                                  USDC# 125611
                                                  Attorney for debtor
                                                  Urb. Santa Cruz
                                                  C-23 Calle Marginal
                                                  Bayamón, P.R. 00961
                                                  Tel: (787)460-6364
                                                  Email:medinalaw@gmail.com
            Case:23-01428-MCF11 Doc#:26 Filed:06/15/23 Entered:06/15/23 15:58:46 Desc: Main
Label Matrix for local noticing    BANCODocument
                                         POPULAR DE PUERTOPage
                                                           RICO 3 of 12 TREASURY DEPARTMENT OF THE COMMONWEALTH OF P
0104-3                                               COLON SANTANA & ASOCIADOS CSP                        DEPARTMENT OF JUSTICE
Case 23-01428-MCF11                                  315 COLL & TOSTE                                     FEDERAL LITIGATION DIVISION
District of Puerto Rico                              SAN JUAN, PR 00918-4026                              PO BOX 9020192
Old San Juan                                                                                              SAN JUAN, PR 00902-0192
Thu Jun 15 15:37:45 AST 2023
US Bankruptcy Court District of P.R.                 ALEXIS RAMIREZ ROSADO                                ANIBAL MEDINA RIOS
Jose V Toledo Fed Bldg & US Courthouse               Urb. Santa Rosa                                      URB SANTA CRUZ
300 Recinto Sur Street, Room 109                     Calle 13 28-17                                       C-23 CALLE MARGINAL
San Juan, PR 00901-1964                              Bayamon PR 00959-6562                                BAYAMON PR 00961-6706


ATTORNEY GENERAL USA                                 BANCO POPULAR DE PR                                  CRIM
DEPT OF JUSTICE                                      PO BOX 362708                                        PO BOX 195387
MAIN BLDG 5111                                       SAN JUAN PR 00936-2708                               SAN JUAN PR 00919-5387
10th AND PENNSYLVANIA AVE NW
WASHINGTON DC 20530-0001

Carlos G Batista Jimenez                             DEPARTMENT OF TREASURY                               DEPT OF TREASURY ELA
PO Box 33150                                         BANKRUPTCY SECTION 424 B                             BANKRUPTCY SECTION 424B
PONCE PR 00733-1150                                  P.O. BOX 9024140                                     PO BOX 90224140
                                                     SAN JUAN, PR 00902-4140                              SAN JUAN PR 00902-4140


INTERNAL REVENUE SERVICE (IRS                        SECRETARIO HACIENDA PR                               SECRETARIO JUSTICIA PR
CENTRALIZED INSOLVENCY OP                            PO BOX 90241090                                      PO BOX 9020192
POST OFFICE BOX 7346                                 SAN JUAN PR 00902                                    SAN JUAN PR 00902-0192
PHILADELPHIA PA 19101-7346


ALEXIS RAMIREZ ROSADO                                ANIBAL MEDINA RIOS                                   MONSITA LECAROZ ARRIBAS
URB SANTA ROSA                                       ANIBAL MEDINA RIOS LAW OFFICE                        OFFICE OF THE US TRUSTEE (UST)
28 17 CALLE 13                                       C 23 CALLE MARGINAL                                  OCHOA BUILDING
BAYAMON, PR 00959-6562                               URB SANTA CRUZ                                       500 TANCA STREET SUITE 301
                                                     BAYAMON, PR 00961-6706                               SAN JUAN, PR 00901




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(d)CRIM                                              End of Label Matrix
PO Box 195387                                        Mailable recipients      17
SAN JUAN PR 00919-5387                               Bypassed recipients       1
                                                     Total                    18
     Case:23-01428-MCF11 Doc#:26 Filed:06/15/23 Entered:06/15/23 15:58:46                                                                                    Desc: Main
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  Fill in this information to identify your case and this filing:

  Debtor 1                ALEXIS                                                 RAMIREZ ROSADO
                          Fust Name                    Middle Name               Last Name

  Debtor2
  (Spouse, if filing) First Name                       Middle Name               Last Name

  United States Bankruptcy Court for the: DISTRICT OF PUERTO RICO

  Case number                 23-01428 MCF                                                                                   X
  (If known)
                                                                                                                             D    Check if this is an
                                                                                                                                  amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                               12/15
In each category, separately 11st and describe Items. List an asset only once. If an asset fits In more than one category, 11st
the asset In the category where you think it fits best Be as complete and accurate as possible. If two married people are
filing together, both are equally responsible for supplying correct information. If more space Is needed, attach a separate
sheet to this form. On the top of any additional pages, write your name and case number (If known). Answer every question.


                    Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1.    Do you own or have any legal or equitable Interest In any residence, building, land, or similar property?
       D     No. Go to Part 2.
       li1'.( Yes. Where is the property?

1.1.                                                              What Is the property?                       Do not deduct secured claims or exemptions. Put the
Urb. Santa Rosa                                                   Check all that apply.                       amount of any secured claims on Schedule D:
=----.....,.-...,...--,,,..,...--,,.--,.---,-,,---                                                            Creditors Who Have Claims Secured by Property.
Street address, If available, or other description                li1'.[ Single-family home
28-17 13        D                                                                                             Current value of the              Current value of the
---------------
         Calle
                                                                  □
                                                                      Duplex or multi-unit building
                                                                      Condominium or cooperative              entire property?                  portion you own?
Bayamon                            PR       00959                 O   Manufactured or mobile home                       $160,000.00                      $80,000.00
"'c""1ty....__ _ _ _ _ __,,,S,-tat,-e--=z""1P"""COd,.....,-e- -   0   Land

                                                                  O   Investment property                     Describe the nature of your ownership
                                                                  O   Timeshare                               Interest (such as fee simple, tenancy by the
,,,B_a...,Y.,.a_m_o_n_ _ _ _ _ _ _ _ _ _ _ _
County
                                                                  D   Other-----------                        entireties, or a life estate), If known.

                                                                  Who has an Interest In the property?        Feeslmple
Urb. Santa Rosa, 28-17 Calle 13,
                                                                  Check one.
Bayamon, PR 00959
                                                                  □ Debtor 1 only                             x
                                                                                                              □   Check If this Is community property
                                                                  D Debtor 2 only                                 (see instructions)
                                                                  O Debtor 1 and Debtor 2 only
                                                                  @ At least one of the debtors and another
                                                                  Other Information you wish to add about this item, such as local


Three bedrooms, 2.5 baths.
                                                                  property Identification number:
                                                                                                      ------------
                                                                                                   28-17 Calle 13

Carport, kitchen.
Debtor own this property with his former espouse, Elsie E. Berrios Salgado, 50%. However this property has zero equity
since BPPR has flied a Proof of Claim of $246,313.52 for the debt of the late Hector Nazario Cortes and her spouse Ana
Lopez Rodriguez.
2.    Add the dollar value of the portion you own for all of your entries from Part 1, Including any
      entries for pages you have attached for Part 1. Write that number hare.........................................................
                                                                                                                                            I                                 I
                                                                                                                                        + L.;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;J
                                                                                                                                                      $80,000.00




Official Form 1OSNB                                                            Schedule A/8: Property                                                                 page 1
       Case:23-01428-MCF11 Doc#:26 Filed:06/15/23 Entered:06/15/23 15:58:46                                                                               Desc: Main
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Debtor 1           ALEXIS RAMIREZ ROSADO                                                              Case number (if known) _23-01428
                                                                                                                              _ _ _ _ _ _ _ _ __



■@fH                Describe Your Vehicles

Do you own, lease, or have legal or equitable Interest In any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report It on Schedule G: Executory Contracts and Unexpired Leases.


3.     Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

       0 No
       6!I   Yes

3.1.                                             Who has an Interest In the property?                       Do not deduct secured claims or exemptions. Put the
Make:                       Toyota               Check one.                                                 amount of any secured claims on Schedule D:

Model:
                           -P-ri=-u_s_C_ _ _ _ _        6!I
                                                    Debtor 1 only                                           Creditors Who Have Claims Secured by Property.
                                                        D  Debtor 2 only                                    Current value of the                Current value of the
Year.                2012
                     ------
Approximate mileage: _..._
Other information:
                     84,000           ____              D
                                                         □ Debtor 1 and Debtor 2 only
                                                              At least one of the debtors and another
                                                                                                            entire property?
                                                                                                                   $6,000.00
                                                                                                            -------------
                                                                                                                                                portion you own?
                                                                                                                                                           $6,000.00

2012 Toyota Prlus C (approx. 84,000                     D     Check If this Is community property
miles) Fair Condition, Debtor has bare                        (see instructions)
title. Title In name of Hector Garay.
4.     Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
       Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
       6!1   No
       □ Yes

5.     Add the dollar value of the portion you own for all of your entries from Part 2, Including any
       entries for pages you have attached for Part 2. Write that number here.........................................................
                                                                                                                                            I                           I
                                                                                                                                         + •========$~6:•.0_0=0=·•o__o__.
                    Describe Your Personal and Household Items
                                                                                                                                                Current value of the
Do you own or have any legal or equitable Interest In any of the following Items?
                                                                                                                                                portion you own?
                                                                                                                                                Do not deduct secured
                                                                                                                                                claims or exemptions.

6.     Household goods and furnishings
       Examples: Major appliances, furniture, linens, china, kitchenware
       0 No
       6!I   Yes. Describe.....   !
                                  TV, Radio, Furniture                                                                                                     $3,000.00

7.     Electronics
       Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners;
                  music collections; electronic devices including cell phones, cameras, media players, games
       6!1   No
       D     Yes. Describe.....


8.     Collectlbles of value
       Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                  stamp, coin, or baseball card collections; other collections, memorab!lla, collectibles
       6!1   No
       □     Yes. Describe.....


9.     Equipment for sports and hobbles
       Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis;
                 canoes and kayaks; carpentry tools; musical instruments
       6!I   No
       D     Yes. Describe.....




Official Form 106A/B                                                   Schedule AJB: Property                                                                    page2
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Debtor 1        ALEXIS RAMIREZ ROSADO                                                                                  Case number (if known) _ _23-01428
                                                                                                                                                 _ _ _ _ _ _ _ __


10. Firearms
    Examples: Pistols, rifles, shotguns, ammunition, and related equipment
     @ No
     □     Yes. Describe.....


11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
     □ No
                                   !
     @ Yes. Describe........As_s_o_rte_d_Je_w_e_1ry
                                                 _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _. .;:$..;:;5.;;.00;:;.;;.0.;:..;0;..

12. Jewelry
    Examples: Everyday jewelry, costume Jewelry, engagement rings, wedding rings, heirloom Jewelry, watches, gems,
              gold, silver
     @ No
     □     Yes. Describe.....


13. Non.farm anlmals
    Examples: Dogs, cats, birds, horses
     @ No
     D     Yes. Describe.....


14. Any other personal and household items you did not already 11st, Including any health aids you
    did notllst
     @ No
     □ Yes. Give specific . . - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - ,
           Information............ .



15. =c:d         d:1:a:a-:1:e     :r1~~ :.:::~~~~~rl::r:.::.~~~-~:.'.~~'.~~~-~-~-~~~-~~~~~-~~~~-~~-~~~-~~:. . . . . . . . + I                                                        $3,500.00           1
■ii        I        Describe Your Financial Assets
                                                                                                                                                                     Current value of the
Do you own or have any legal or equitable interest in any of the following?
                                                                                                                                                                     portion you own?
                                                                                                                                                                     Do not deduct secured
                                                                                                                                                                     claims or exemptions.
16. Cash
    Examples: Money you have In your wallet, in your home, In a safe deposit box, and on hand when you file your
              petition
     0 No
     @ Yes.................................................................................................................................... Cash· .......................... -----"$=20--'.0-"-0a..

17. Deposits of money
     Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions,
               brokerage houses, and other similar institutions. If you have multiple accounts with the same
               institution, list each.
     0 No
     @Yes............................                    Institution name:

            17.1.      Checking account                  Oriental Bank xxxxxx0471 • Deposit of Soclal Security benefits -
                                                         disability. exempt                                                                                                             $100.00




Official Form 106A/B                                                             Schedule A/8: Property                                                                                      page3
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Debtor 1         ALEXIS RAMIREZ ROSADO
                                                                                                                                          23-01428
                                                                                                      Case number Of known) _ _ _ _ _ _ _ _ _ __


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
     1i1   No
     □     Yes............................    Institution or issuer name:

19. Non-publicly traded stock and Interests In Incorporated and unincorporated businesses, Including
    an Interest In an LLC, partnership, and Joint venture
     !i1   No
     □ Yes. Give specific
           information about
           them..........................     Name of entity:                                                       % of ownership:
20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable Instruments include personal checks, cashiers' checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
     @No
     □ Yes. Give specific
           information about
           them..........................     Issuer name:

21. Retirement or pension accounts
    Examples: Interests In IRA, ERISA, Keogh, 401 (k), 403(b), thrift savings accounts, or other pension or
                      profit-sharing plans
     Ii}   No
     □     Yes. List each
           account separately.               Type of account:       Institution name:

22. Security deposits and prepayments
     Your share of all unused deposits you have made so that you may continue service or use from a company
     Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
     companies, or others

     @No
     DYes............................                            Institution name or Individual:
23. Annuities (A contracl for a specific periodic payment of money to you, either for life or for a number of years)
     Ii}   No
     □     Yes............................    Issuer name and description:

24. Interests In an education IRA, In an account In a qualified ABLE program, or under a qualified state tuition program.
     26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
     @No
     D     Yes............................    Institution name and description. Separately file the records of any Interests. 11 U.S.C. § 521 (c)
25. Trusts, equitable or future Interests In property (other than anything listed In llne 1), and rights or
    powers exercisable for your benefit
     @No
     D     Yes. Give specific
           information aboul them.___ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ ___,

26. Patents, copyrights, trademarks, trade secrets, and other Intellectual property;
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
     !i1   No
     □ Yes. Give specific
           information about them.___ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ ___,

27. Ucenses, franchises, and other general Intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
     Ii}   No
     D     Yes. Givespeciflc
           information about them..__ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ ___,




Official Form 106A/B                                                        Schedule A/B: Property                                                     page4
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Debtor 1        ALEXIS RAMIREZ ROSADO                                                        Case number (if known) _ _ _ _23-01428
                                                                                                                            _ _ _ _ _ __


Money or property owed to you?                                                                                               Current value of the
                                                                                                                             portion you own?
                                                                                                                             Do not deduct secured
                                                                                                                             claims or exemptions.

28. Tax refunds owed to you

     @No
     □     Yes. Give specific information
           about them, including whether
                                                 I                                                   Federal:_ _ _ _ _ _ __

           you already flied the returns                                                             State:
           and the tax years ...................... .__ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ ___. Local:

29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
     @No
     DYes. Give specific information                                                                       Alimony:

                                                                                                           Maintenance:

                                                                                                           Support:
                                                                                                           Divorce settlement _ _ _ _ _ _ __

           .__ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __. Property settlement:._ _ _ _ _ _ __

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers'
                    compensation, Social Security benefits; unpaid loans you made to someone else
     @No
     □     Yes. Give specific information


31. Interests In Insurance policies
    Examples: Health, dlsablllty, or life Insurance; health savings account {HSA); credit, homeowner's, or renter's insurance
     @No
     □     Yes. Name the Insurance
           company of each policy
           and list Its value................   Company name:                            Beneficiary:                     Surrender or refund value:
32. Any Interest In property that Is due you from someone who has died
     If you are the beneficiary of a living trust, expect proceeds from a life Insurance policy, or are currently
     entitled to receive property because someone has died
     ltf   No
     D     Yes. Give specific Information


33. Claims against third parties, whether or not you have flied a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
     It!   No
     □     Yes. Describe each claim ........


34. Other contingent and unllquldated claims of every nature, Including counterclaims of the debtor and
    rights to set off claims
     @No
     □ Yes. Describe each claim ........


35. Any financial assets you did not already list
     @No
     □Yes. Give specific information




Official Form 106A/B                                            Schedule A/8: Property                                                        page 5
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Debtor 1        ALEXIS RAMIREZ ROSADO                                                                                               23-01428
                                                                                            Case number (if known) _ _ _ _ _ _ _ _ _ __



                                                                                                                                              $120.00     1
                Describe Any Business-Related Property You Own or Have an Interest In. List any real estate In Part 1.

37. Do you own or have any legal or equitable Interest In any business-related property?
    @      No. Go to Part 6.
    □ Yes. Go to line 38.

                                                                                                                                  Current value of the
                                                                                                                                  portion you own?
                                                                                                                                  Do not deduct secured
                                                                                                                                  claims or exemptions.
38. Accounts receivable or commissions you already earned

     @No
     □ Yes. Describe..


39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones,
                   desks. chairs. electronic devices
     @No
     □ Yes. Describe..



40. Machinery, fixtures, equipment, supplies you use In business, and tools of your trade
     @No
     □ Yes. Describe..


41. Inventory
     @No
     □ Yes. Describe..


42. Interests In partnerships or Joint ventures

     @ No
     □     Yes. Describe..... Name of entity:                                                            % of ownership:
43. Customer lists, malllng lists, or other compilations

     @     No
     D     Yes. Do your lists Include personally identifiable Information (as defined in 11 U.S.C. § 101(41A))?
                  □ No
                  □ Yes. Describe....


44. Any business-related property you did not already list

     @No
     DYes. Give specific information.


45. ::c::d       ~:~~a-:1;,e   ::r1:! : !:U:;~!~~:~~-~~~-~'. ~~:'.~~~~-~- ~~~.:~~-~~-~-~:~.:.~~:~.~:~.~~:. . . . . . . . +    =====::::$0:·:o:o:JI
                                                                                                                             LI


                Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                If you own or have an Interest in farmland, list It In Part 1.

48. Do you own or have any legal or equitable Interest In any farm- or commercial fishing-related property?
     @ No. Go to Part 7.
     □ Yes. Go to line 47.



Official Form 1OSA/B                                            Schedule A/B: Property                                                            page6
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Debtor 1       ALEXIS RAMIREZ ROSADO                                                                                     23-01428
                                                                                            Case number frf known) _ _ _ _ _ _ _ _ _ __


                                                                                                                                Current value of the
                                                                                                                                portion you own?
                                                                                                                                Do not deduct secured
                                                                                                                                claims or exemptions.
47. Farm animals
    Examples: Livestock, poultry, farm-raised fish
     @ No
     □ Yes ....


48. Crops-either growing or harvested

     ii    No
     D     Yes. Give specific
           information ................ ..__ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ ___,

49. Farm and fishing equipment, Implements, machinery, fixtures, and tools of trade
     @ No
     □ Yes ....


50. Farm and fishing supplies, chemicals, and feed

     ii No
     □ Yes ....


51. Any farm- and commercial fishing-related property you did not already 11st

     ii
     □
           No
           Yes. Give specific ,..._   ____________________________
           Information ................
                                                                                     1
52. ~=c~~d;:,1:a;8v~1;.e ~~~ :'t:!~~~~~~:~~~.~~~-~'..~~~'.~~~~~.~-~~.~~~··~-~-~~~-~~~~--~-~~-~~:~................ + IL.:;;;;;;::;;::;;::;;::;;$;0;.;oo;;:JI
              Describe All Property You Own or Have an Interest In That You Did Not List Above

53. Do you have other property of any kind you did not already llst?
    Examples: Season tickets, country club membership

     @ No
     D     Yes. Give specific Information.


54. Add the dollar value of all of your entries from Part 7. Write that number here ..........    NHHHHHOHHHHHHHHHHH      + I_-------------------__s;o;·;o_o___,




Official Form 106A/B                                            Schedule A/B: Property                                                                page7
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Debtor 1          ALEXIS RAMIREZ ROSADO                                                                                             Case number frf known) _ _ _23-01428
                                                                                                                                                                _ _ _ _ _ __


•l•:I            List the Totals of Each Part of this Form

55. Part 1 · Total real estate, line 2..............................................................................................................................         +                 $80,000.00

56. Part 2: Total vehicles, llne 5                                                                                          $6,000.00

57. Part 3: Total personal and household Items, line 15                                                                     $3,500.00

58. Part 4: Total financial assets, llne 36                                                                                    $120.00

59. Part 5: Total business-related property, line 45                                                                                $0.00

60. Part 6: Total_ farm• and fishing-related property, line 52                                                                      $0.00

61. Part 7: Total other property not listed, llne 54                                                   +.                           $0.00


                                                                                                       I                                        I
                                                                                                                                                            Copy personal
62. Total personal property.                                                                                           $_9...._,.__6=2_0...._....
                                               Add lines 56 through 61.................. ...::.-=.,-=.,-:.,-:.,-:_-:.,...                     0_0........., property total   +   +.r..-_ __.._$9;;;.i,._620----._00__


63. Total of all property on Schedule A/8.                            Add line 55 + line 62.................................................................................     I_______.I     $89,620.00




Official Form 106NB                                                                      Schedule A/8: Property                                                                                             pages
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